                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

           Plaintiff,                            Case No. 1:20−cr−183

    vs.                                          Hon. Robert J. Jonker

BARRY GORDON CROFT, JR,

           Defendant.
                                     /



                                           ORDER


Pursuant to the Due Process Protections Act, the Court reminds the government of its
obligations under Brady v. Maryland, 373 U.S. 83 (1963), to disclose evidence favorable to
the defendant and material to the defendant's guilt or punishment. The government is
ordered to comply with Brady and its progeny. The failure to do so in a timely manner may
result in consequences, including dismissal of the indictment or information, exclusion of
government evidence or witnesses, adverse jury instructions, dismissal of charges,
contempt proceedings, sanctions by the Court, or any other remedy that is just under the
circumstances.

IT IS SO ORDERED.


Dated: January 14, 2021                    /s/ Sally J. Berens
                                           UNITED STATES MAGISTRATE JUDGE
